       Case 2:12-md-02323-AB Document 3591-2 Filed 08/30/12 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

                                                   No. 2:12-md-02323-AB
IN RE: NATIONAL FOOTBALL LEAGUE
PLAYERS’ CONCUSSION INJURY
                                                   MDL No. 2323
LITIGATION


THIS DOCUMENT RELATES TO:
Alexander, et al. v. The National Football
League, No. 12-cv-01923

Myers v. The National Football League, No.
12-cv-01424

Schobel v. National Football League, No.
12-cv-02801



                                     PROPOSED ORDER


               AND NOW, this          day of                        , 2012, upon consideration of

the Motion to Dismiss Plaintiffs’ Complaints for insufficient service of process filed by the

National Football League in the above-captioned cases, it is hereby ORDERED that the Motion

is GRANTED, and the above-captioned cases are dismissed without prejudice.




                                                             ________________________
                                                             ANITA B. BRODY, J.
